          Case 1:17-cr-00232-EGS Document 267 Filed 10/08/20 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    v.

    MICHAEL T. FLYNN,                             Criminal Action No. 17-232-EGS

    Defendant.




             GENERAL FLYNN’S MOTION TO STRIKE IMPROPER
                 COMMUNICATIONS AND TO FORECLOSE
                  FILINGS OF ANY OTHER NON-PARTIES

         General Michael T. Flynn moves to strike the ex parte and unauthorized

extrajudicial communications received by this court’s chambers and improperly

entered into the public docket on September 28, 2020 and October 7, 2020. These

attorneys should be addressing their concerns with the government, not emailing the

judge in this case; and the letters do not belong in the record.

         On September 28, 2020, Aitan Goelman, counsel to former FBI Deputy

Assistant Director Peter Strzok, who was fired from the Bureau after he was exposed

for his own bias and extraordinary malfeasance, emailed a letter to the court

regarding documents on the record. He did not copy counsel for the parties, nor did

he seek leave to intervene. Instead of noting the impropriety of the correspondence,

the court immediately entered the letter into the record. ECF No. 258.




                                           1
        Case 1:17-cr-00232-EGS Document 267 Filed 10/08/20 Page 2 of 4




      Emboldened by the positive reception Mr. Strzok’s letter received, counsel to

Andrew McCabe sent a similar letter to Judge Sullivan’s chambers on October 5,

2020. On October 7, 2020, this court entered that letter, too, into the record of this

case. ECF No. 263. Neither Peter Strzok nor Andrew McCabe is a party to this

litigation, and their attorneys have no role in this litigation.

      General Flynn has already moved to strike all ex parte communications from

counsel for Peter Strzok at this court’s September 29, 2020 hearing and in his

subsequent Motion to Disqualify Judge Emmett Sullivan and for Other Relief. Hr’g

Tr., United States v. Flynn, No. 17-232 (D.D.C. Sept. 29, 2020) at 59-61; ECF No. 261.

The court re-entered both these letters after General Flynn filed his motion to

disqualify.   Accordingly, General Flynn again moves to strike all ex parte and

extrajudicial communications from any non-party, and to foreclose all future non-

party communications or filings in this case.

      When Mr. Strzok and Mr. McCabe become parties to criminal proceedings,

they are welcome to file objections in their own cases. Until then, they are free to

write directly to the Department of Justice with their concerns, but they may not

engage in ex parte or extrajudicial communications with the judge in this case, nor

insert themselves into proceedings in which they have no standing. The Department

of Justice has already taken appropriate action to correct the unintentional error.

The defense only filed what it had been provided by the government.




                                            2
       Case 1:17-cr-00232-EGS Document 267 Filed 10/08/20 Page 3 of 4




      Accordingly, General Flynn asks this court to strike any and all ex parte

communications from the record, and to foreclose all future filings of any other non-

parties, and to exclude those communications from any consideration.


Dated: October 8, 2020                 Respectfully submitted,

/s/ Jesse R. Binnall                    /s/ Sidney Powell
Jesse R. Binnall                        Sidney Powell
Abigail C. Frye                         Molly McCann
Harvey & Binnall, PLLC                  Sidney Powell, P.C.
717 King Street, Suite 300              2911 Turtle Creek Blvd.,
Alexandria, VA 22314                    Suite 300
Tel: (703) 888-1943                     Dallas, Texas 75219
Fax: (703) 888-1930                     Tel: 214-707-1775
jbinnall@harveybinnall.com              sidney@federalappeals.com
afrye@harveybinnall.com                 Admitted Pro Hac Vice
Admitted Pro Hac Vice                   molly@federalappeals.com
                                        Admitted Pro Hac Vice




                                          3
       Case 1:17-cr-00232-EGS Document 267 Filed 10/08/20 Page 4 of 4




                          CERTIFICATE OF SERVICE

      I hereby certify that on October 8, 2020, I electronically filed the foregoing

Supplement with the Clerk of Court using the CM/ECF system. I further certify that

the participants in the case are registered CM/ECF users and that service will be

accomplished by the court’s CM/ECF system.


                                             Respectfully submitted,

                                             /s/ Jesse R. Binnall
                                             Jesse R. Binnall, VSB# 79272
                                             Harvey & Binnall, PLLC
                                             717 King Street, Suite 300
                                             Alexandria, VA 22314
                                             Tel: (703) 888-1943
                                             Fax: (703) 888-1930
                                             jbinnall@harveybinnall.com




                                         4
